Case: 2:16-cv-00024-ERW Doc. #: 101-2 Filed: 04/02/18 Page: 1 of 2 PageID #: 1542




                        EXHIBIT B1
Case: 2:16-cv-00024-ERW Doc. #: 101-2 Filed: 04/02/18 Page: 2 of 2 PageID #: 1543



                                     INSTRUCTION NO. ___

                                                 I

       The term “negligent” or “negligence” as used in these instructions means the

failure to use that degree of skill and learning ordinarily used under the same or similar

circumstances by an expert in defendant's business.

                                                 II

       The phrase “ordinary care” as used in these instructions means that degree of

care, skill and learning that an ordinarily careful expert in defendant's business would use under

the same or similar circumstances.
